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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                               Middle District of Florida
 In re       Leonel Fundora                                                                                   Case No.      2:23-bk-01584
                                                                              Debtor(s)                       Chapter       13

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  5,000.00
             Prior to the filing of this statement I have received                                        $                  1,000.00
             Balance Due                                                                                  $                  4,000.00

2.   $      313.00      of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

4.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a
             petition in bankruptcy;

                  b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

                  c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
                  thereof;

                  d. Other Provision:

                     1. Cases filed in the Northern District of Florida, will be charged a $250/yearly Attorney Annual Statement fee,
                  which will be paid through the confirmed chapter 13 plan.

                    2. Cases filed in the Middle District of Florida will be charge a monthly monitoring fee of $50.00 starting on the
                  month the chapter 13 plan is confirmed.

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.

                  Depositions and/or 2004 Examinations

                  Motion to Modify chapter 13 plan, Motion to Value, Motions to Reinstate, Evidently hearings, Motion to sell
                  property, Motion for Loan Modification (MMM) and motions pursuant to 11 USC 522(f)(2)(A) for avoidance of liens
                  on household goods.
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                                                  Debtor(s)

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                       (Continuation Sheet)
                                                                CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

   January 19, 2024                                                      /s/ Haven Del Pino, Esq.
   Date                                                                  Haven Del Pino, Esq. 88606
                                                                         Signature of Attorney
                                                                         Del Pino & Granados Law Firm
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                                                                         Suite 422
                                                                         Hialeah, FL 33012
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                                                                         haven@delpinolaw.com
                                                                         Name of law firm
